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               Matthew Heimbach                                                                       +   Follow
               Feb 16, 2019 at 11:13 am

  The NSM, I guess formerly under Jeff Schoep is now under the legal
  control of a Black Civil Rights advocate who has previously dissolved
  White nationalist organ izations who got into legal trouble.

  Reverend James Hart Stern is now the President/Director of the
  National Socia list Movement, according to legal filings.

  I honestly don't even know what to say about this, but I look forward
  to a public statement from the NSM to explain and clarify exactly
  what is going on.

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